          Case 1:21-cr-00378-TJK Document 83 Filed 03/01/22 Page 1 of 5




                          UNITED STATES DISTRICT
                       FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA             )
                                     )
     v.                              )      Case No. 21-cr-0378
                                     )
PAUL C. RAE,                         )
                                     )
                   Defendant.        )




  DEFENDANT PAUL RAE’S MOTION TO MODIFY CONDITIONS OF RELEASE




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              Case 1:21-cr-00378-TJK Document 83 Filed 03/01/22 Page 2 of 5




                                   UNITED STATES DISTRICT
                             FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                       )
                                               )
         v.                                    )       Case No. 21-cr-0378
                                               )
PAUL C. RAE,                                   )
                                               )
                        Defendant.             )


         NOW comes Defendant, Paul C. Rae, by and through his counsel of record, John M. Pierce,

Esq., respectfully requesting this Honorable Court to modify his current conditions of release.

I.       Removal of Ankle Monitor

         In support of this Motion, the Defendant would like the Court to consider the following

items:

         First, the Defendant does not have a criminal history.

         Secondly, the Defendant has made every court appearance in connection to this case.

         Thirdly, the Defendant is not a danger to the community and the allegations pending against

him do not involve crimes of violence. Further, the defendant was one of the first people charged

with events relating to January 6—since the courts have not been imposing the condition of an

ankle monitor of defendants not charged with a crime of violence.

         Fourth, the Defendant has tendered his passport to his surety and does not now possess a

passport.

         Fifth, Defendant has ties to the community and runs his own business.

         Sixth, the Defendant has complied with all of the conditions of release, including electronic

monitoring, for approximately twelve months.




                                                   1
           Case 1:21-cr-00378-TJK Document 83 Filed 03/01/22 Page 3 of 5




         Seventh, the statute governing pretrial release explicitly states that a judicial officer who

determines conditions are necessary to assure appearance in court or the safety of the community

for a particular defendant, “shall order the pretrial release of the person . . . subject to the least

restrictive further condition, or combination of conditions . . . .” 18 U.S.C. § 3142(c)(1)(B)

(emphasis added).

II.      Discontinue Drug Testing

         In support of this Motion, the Defendant would like the Court to consider the following

items:

         First, the Defendant was not charged with a drug related crime.

Second, the Defendant has passed every drug test since the condition of release was imposed.

         Third, the Defendant does not have a past record of any drug usage.

Fourth, required weekly testing is becoming a high expense for the Defendant to continue to pay.

 III.    Discontinue Weekly Reporting of Schedule

         In support of this Motion, the Defendant would like the Court to consider the following

items:

         First, the Defendant runs his own business; therefore, while a schedule can be made it does

change. As a result of such changes, the Defendant would be in violation of his release.

         Second, the Defendant must take ample time once a week to create a schedule of his

upcoming week. There are times Defendant is unsure of the schedule could entail.

                                          CONCLUSION

         Mr. Rae has demonstrated that he will comply with the conditions of his pretrial release

and the need for continued location monitoring is more restrictive than necessary to ensure his

appearance before this court and for the safety of the community. Wherefore, Mr. Rae respectfully


                                                  2
          Case 1:21-cr-00378-TJK Document 83 Filed 03/01/22 Page 4 of 5




requests this honorable Court to grant his motion to modify the conditions of his pretrial release

by eliminating the need for GPS monitoring and drug testing.

Date: March 1, 2022                          Respectfully Submitted,



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                                                3
         Case 1:21-cr-00378-TJK Document 83 Filed 03/01/22 Page 5 of 5




                                CERTIFICATE OF SERVICE

       I, John M. Pierce, hereby certify that on this day, March 1, 2022, I caused a copy of the

foregoing document to be served on all counsel through the Court’s CM/ECF case filing system.



                                                   /s/ John M. Pierce
                                             John M. Pierce




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